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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF HAWAII

- AO-BM
COUNTY OF MAUI Case. No. CV 23-00565 JAO K
) ORDER GRANTING MOTION TO
Plaintiff, ) APPEAR PRO HAC VICE AS TO
) Ed Diab
VS. )
MAUI ELECTRIC COMPANY, LIMITED et al.,
)
Defendant. )
)
ORDER GRANTING MOTION
TO APPEAR PRO HAC VICE
The Court GRANTS the Motion of Ed Diab to
Appear Pro Hac Vice.
Name of Attorney: Ed Diab
Firm Name: Diab Chambers LLP
Firm Address: 10089 Willow Creek Rd., Suite 200, San Diego, CA 92131
Attorney CM/ECF
Primary email address: |¢d@dcfirm.com
Firm Telephone: 619.658.7010
Party Represented Plaintiff, COUNTY OF MAUI

IT IS SO ORDERED.
DATED: Honolulu, Hawaii,

